UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI |
EASTERN DIVISION JUL 15 2025

ARTHUR JOHNSTON |
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SOUTHER DISTRICT OF misaissire
FILE!

Latasha Hill, Propria Persona

V.

AUTO CLUB FAMILY INSURANCE COMPANY, Defendant

Case No.: 2:24-cv-00107-KS-BWR

AFFIDAVIT OF PERSONAL KNOWLEDGE

I, Latasha Hill, being duly sworn, depose and state under penalty of perjury pursuant to 28
U.S.C. § 1746:

1.

2.

1am the Plaintiff in this action and have personal knowledge of the facts herein.
On May 02, 2025, Judge Starrett held an ex parte teleconference with defense counsel
and my former attorney, Paul Anderson (Dkt. 50). I was not aware of that til 1 saw the
docket entry. Code of Judicial Conduct Canon 3(B)(7) violation.

Judge Starrett ignored CoreLogic's fraudulent wind report (Dkt. 28-1), which omitted
Hurricane Ida data.

Judge Starrett systematic striking of my critical filings.

Judge Starrett ignores defense counsel’s fraud on the court.

I am subjected to disparate treatment as a multi-racial propria persona litigant.
I am subjected to alleged patterns of:

a) Evidence suppression

b) Retaliatory rulings

c) Judicial collusion

I am subjected to due process violations.

Page 1of 5
9. He denied my Motion to Strike (Doc. 82) and Motion for Judicial Notice (Doc. 80), while
granting Auto Club’s Motion for Summary Judgment (Doc. 27 from April 15, 2025).

10. 28 U.S.C. § 455

11. Judge Starrett’s PAC ties and Smith precent also suggest bias. Some actions of Judge |
Starrett mirror the case of Smith v. State Farm in which Judge Starrett presided over and
he suppressed evidence of insurer misconduct.

12. Caperton v. A.T. Massey (2009)

13. 28 U.S.C. § 455(a) Violation: Starrett’s repeated favoritism toward insurers (PAC

donations + Smith precedent) creates a reasonable appearance of partiality.
14. Doc. 75 (Second Amended Complaint), Exposes Auto Club’s fraudulent alteration of my

insurance policy (Ex. O/O1) and fabricated wind reports (Ex. E, J). Judge Starrett lenares

04/15/2025 My former Attorney Anderson and Defense counsel filed motions and a order

was docketed 04/17/2025. 04/29/2025 Attorney Anderson filed a motion and a order was

docketed 04/30/2025. I filed a motion on 05/05/2025 and it was stricken 05/22/2025. I

this in his summary judgment ruling (willful blindness to insurer fraud).

15. Intentionally delaying orders/rulings:

filed a motion on 05/07/2025 and it was stricken 05/22/2025. I filed a motion 05/ baron?
and it was stricken 05/22/2025. I filed a motion on 05/16/2025 and it was stricken !
05/22/2025.

16. On May 21, 2025 during the telephonic conference I was relieved of duties regarding the
partial summary judgment motion filed by attorney Anderson on April 15, 2025. The

same day Attorney Williams filed a motion for summary judgment. I was unaware that

the call was not being recorded where it could be transcribed. Furthermore, my extension

Page 2 of 5
of time was regarding Doc., 27(dated April 15, 2025) the motion for summary judgment

that attorney Williams filed (see referencing on Doc., 41 dated May 9, 2025). I never

filed a motion regarding Doc., 25(Dated April 15, 2025/filed by attorney Anderson)
because I was relieved of it during the May 21, 2025 telephonic conference and I stand
by that statement. I have enclosed the email (dated May 2, 2025)[the day after attorney
Anderson voluntarily withdrew from my case] from my former attorney Anderson. He
reminded me about docs., 25(partial summary judgment by him) AND 27(motion for
summary judgment by attorney Williams). Up until June 30, 2025 I have responded to
everything docketed regarding my case EXCEPT the partial summary judgment because
I was relieved of that on the May 21, 2025 teleconference call. Since the call involved
case-critical discussions, the lack of a record deprives me of my rights because I have no
way to challenge what was said to me regarding the partial judgment. Evidence
Suppressed: Court ignored fraud proof (altered policies, fake reports). Due Process
Violated: No recording, no transcript, no fair consideration.
17. Willful ignorance of policy fraud.
18. 28 U.S.C. § 455(b)(4): Financial ties to insurer-dependent industries. Caperton v. A.T.
Massey (2009) (judge must recuse if donor’s case has "disproportionate influence”.
19. Fraudulent Removal & Initial Bias (Doc. 1 - July 19, 2024)
Violation: Defendant Auto Club removed the case without attaching the full state court

record (Page 1).

e FRCP 81(c)(1): Requires complete state court filings.
e L.U.Civ.R. 5(b): Mandates filing within 14 days.

Judge Starrett’s Complicity: Ignored this defect, enabling defense gamesmanship.

Page 3 of 5
20. Discovery Suppression (Docs. 8, 11 - Aug. 2024)

Violation: Defendant withheld the Claims Manual (key to proving bad faith under Miss.

Code Amn. § 83-5-35). |

e FRCP 26(e): Duty to supplement discovery.
e NAIC Model Rule 4-7: Requires insurers to disclose claims guidelines.

e Judge’s Role: Never sanctioned defense counsel (Priscilla Williams) for this fraud on

e Judge’s Bias: Denied my Motion to Strike (Doc. 79) as "moot" (Page 1 of Doc. 82).

the court.

21. Uneven Deadline Enforcement (Docs. 30, 41, 77 - Apr.-July 2025)

Defendant’s 87-Day Late Filing (Doc. 77):

e L.U.Civ.R. 7(b)(3): Responses due in 14 days (max 21 with extension).

e Plaintiff's Filings: Threatened sanctions for "vexatious filings" (Doc. 82, Page 3) while

ignoring defense misconduct.
|

e Violation: Fifth Amendment Equal Protection.
92. Retaliatory Sanctions Threat (Doc. 82 — July 9, 2025)

e Judicial Canon 1: Judges must avoid "appearance of impropriety.”

e Evidence of Bias:

e Granted Defendant’s untimely filings (Doc. 77).
e Denied my valid motions (Docs. 79, 80). |
| Latasha Hill proceeds In Good Faith, Without Dishonor, and Reserves All Rights under uce

1-308, Without Prejudice. |

FURTHER AFFIANT SAYETH NAUGHT.

Autographed this 15" of July 2025
Page 4o0f5
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py Ladi Nuke
Latasha Hill
Propria Persona
Sui Juris
Without Prejudice
UCC 1-308

CC’d: Fifth Circuit Judicial Council

Notary Witness and Acknowledgement
United States of America }
State of Missjgsippi } $.a.
County of or rest }

Today before me, a Commissioned Notary, is the living, flesh and blood, and natural woman
known to be Latasha Hill and she did issue this Formal Affidavit and she also affirmed her
testimony as shown before me this 1D day of UL in the year 2025, in
Witness whereof I set my Signature and Seal:

Treo bol es Bor Be

Public Notary Printed Name Public Nétary Signature
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: TAMMY HOLMES

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Latasha Hill

8 Annie Christie Drive
Hattiesburg, MS 39401
latashahill30047@yahoo.com
601-202-3262

Case: 2:24-cv-00107-KS-BWR

Page 5o0f5
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SOUTHERN DISTRICT OF MISSISSIPPI

EASTERN DIVISION
Latasha Hill,
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Defendant.

Case No.: 2:24-cv-00107-KS-BWR
Date: July 15, 2025

CERTIFICATE OF SERVICE

Pursuant to 28 U.S.C. § 1746, affidavit of personal knowledge. This letter serves as formal notice
of plaintiff's affidavit of personal knowledge. I, Latasha Hill, certify that on July 15, 2025, I will
serve this Motion To Compel, on Priscilla K. Williams via email pkwilliams@csattorneys.com
and pkw@csattorneys.com.

Method of service: [X] Email

Priscilla K. Williams
CHRISTIAN & SMALL, LLP
505 20" St. North, Suite 1800
Birmingham, Alabama 35203

205-795-6588 tinh beg
pkwilliams@csattorneys.com Cu TK /\ KO
By:__/s/ Latasha Hill
Latasha Hill
Propria Persona
Sui Juris
Latasha Hill

8 Annie Christie Drive

Hattiesburg, Mississippi 39401

Civil Action No. 2:24-cv-107-KS-BWR
601-202-3262
